                                                                                                                                                                         1
                                                                                FORM 1                                                                     Page No:

                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                   ASSET CASES
Case No.:                      15-10013-H7                                                               Trustee Name:                                 Yvette J. Gonzales
Case Name:                     MONETTE FORD, INC.                                                        Date Filed (f) or Converted (c):              01/06/2015 (f)
For the Period Ending:         09/30/2020                                                                §341(a) Meeting Date:                         02/06/2015
                                                                                                         Claims Bar Date:                              08/06/2015

                         1                                    2                       3                             4                         5                           6

                 Asset Description                        Petition/         Estimated Net Value                Property                 Sales/Funds                  Asset Fully
                  (Scheduled and                        Unscheduled        (Value Determined by                Abandoned               Received by the            Administered (FA) /
             Unscheduled (u) Property)                     Value                  Trustee,               OA =§ 554(a) abandon.             Estate                   Gross Value of
                                                                          Less Liens, Exemptions,                                                                  Remaining Assets
                                                                             and Other Costs)

 Ref. #
1       Luis Lopez Property in Sec 1                      $180,000.00                     $158,400.00                                          $30,000.00                           FA
        T45 R1W
        Socorro County, NM
        Parcel A2A 5.282 Acres
        Parcel A2B 5.275 Acres
        Parcel A3A 5.862 Acres
        Parcel A3B 5.400 Acres
Asset Notes:      Realtor is no longer interested in listing the property. Will contact auctioneer for possible land auction. Auctioneer hired and auction set;
                  Property sold for $30,000 at auction; Per order on auction filed 7/1/19 doc 220
2        1261 West Frontage Road                        $1,294,000.00                           $0.00              OA                                $0.00                          FA
       Socorro, NM
       MAP MRGCD MAP 161
       28A1C1 .0806 Acres
       28A1B .061874 Acres
       28A1A1 4.00 Acres
       28A1A2A5 1.454 Acres
       28A1A3D .097 Acres
Asset Notes:     Socorro dealership property; Ordered abandoned per order entered 6/11/2015 doc 75
3      400 S. Broadway                                $258,000.00                               $0.00             OA                                 $0.00                          FA
       Truth or Consequences, NM
       Property #3 022 079 382 018
       Palomas, Hot Springs Townsite
       Block 4 Lots 16 Thru 25 S of
       HWY 85
Asset Notes:     Order for Relief from Stay entered 4/21/2015 doc #61
4      209 S. California Street                       $372,000.00                               $0.00             OA                                 $0.00                          FA
       Socorro, NM
       Socorro Grant sec 21 CS TR 22
Asset Notes:     Order for Relief from Stay entered 4/21/2015 doc #61
5      40 Acres in Engle                                $117,000.00                             $0.00             OA                                 $0.00                          FA
       Sierra County, NM
       Property #3 009 076 268 044
       Section - 00 T135 R02W
Asset Notes:      Order for Relief from Stay entered 4/21/2015 doc #61
6      2013 Rose Lane                              $205,000.00                             $51,460.00             OA                                 $0.00                          FA
       Las Cruces, NM
       MC 4-006-134-330-077
Asset Notes:    Abandoned per Doc. No. 91, 11/23/15.
7      Lemitar Trailer/Land Sec. 35                  $75,018.00                            $67,518.00                                          $50,000.00                           FA
       TIS RlW Lemitar,NM
       MAPMRGCD 152 Tract: C
       .85 Acres
Asset Notes:     Per Order entered 1/23/2018 doc 167



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                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
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                                                                                                        Claims Bar Date:                             08/06/2015

                         1                                  2                       3                             4                         5                         6

                 Asset Description                      Petition/          Estimated Net Value               Property                 Sales/Funds               Asset Fully
                  (Scheduled and                      Unscheduled         (Value Determined by               Abandoned               Received by the         Administered (FA) /
             Unscheduled (u) Property)                   Value                   Trustee,              OA =§ 554(a) abandon.             Estate                Gross Value of
                                                                         Less Liens, Exemptions,                                                              Remaining Assets
                                                                            and Other Costs)

8                                                          $1,500.00                      $1,340.00             OA                                 $0.00                       FA
        Valencia County, NM
        Lot 31 Block 873 Unit F .5
        Acres
        Lot 32 Block 873 Unit F .5
        Acres
        Rio Grande Estates Lots
9       Cash                                               $3,010.06                      $3,010.06                                             $4,500.00                      FA
10     First State Bank xxx801                             $61,800.11                    $61,800.11                                          $66,219.77                        FA
       PO Box Z
       Socorro, NM 87801
Asset Notes:      In house retail installments per order entered 5/7/2015 doc 65
11      Term Life Policies                                      $0.00                         $0.00                                                $0.00                       FA
        New York Life Insurance
        POBox 500
        Minneapolis, MN 55440
12      In house retail installment                     $560,001.77                           $0.00                                         $209,040.21                        FA
        contracts for sales of vehicles
        1261 Frontage Road Socorro,
        NM 8
Asset Notes:      per order entered 5/7/2015 doc 65, Strategic Funding is secured and has agreed that Trustee will collect funds and retain 10% of the net for
                  the estate. Most of the contracts have paid out and/or vehicles repossessed. Will collect until the case is ready to close; per order entered
                  5/7/2015 doc 65; Receipts are no longer coming in.
13      Parts and Service Accounts                        $98,052.20                    $98,052.20                                                $1,487.99                    FA
        Receivable
        1261 Frontage Rd
        Socorro, NM 8780 l-5073
14      Outstanding Warranties                             $8,016.35                      $8,016.35                                                $0.00                       FA
        Receivables
        1261 Frontage Road
        Socorro, NM 8780 l
15      Memo Account                                     $49,619.45                      $49,619.45                                                $0.00                       FA
        Credit Acceptance Corporation
        961 E Main Street
        Spartanburg, SC 29307
16      Memo Account                                    $117,363.75                     $117,363.75                                          $99,000.00                        FA
        De Moss Rentals
        69 Midway Road
        Lemitar, NM 87823
Asset Notes:     Real Estate Contract with DeMoss. Gross value of remaining asset does not take into account 5% interest. Will contact buyers of real estate
                 contracts; Order on Settlement on 69 Midway entered 10/1/19 doc 228
17      Ford Motor Company Dealer                          $0.00                         $0.00                                                $0.00                            FA
        Franchise
18     1999 Kawasaki-YIN 5XB50                           $1,500.00                            $0.00                                                $0.00                       FA
       1261 Frontage Road
       Socorro, NM 8780 I
Asset Notes:
             Case     15-10013-sh7
                 Lien covers                      Doc 251 Filed
                             Vehicles, Parts and Inventory                     11/02/20            Entered 11/02/20 18:56:21 Page 2 of 24
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                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                               ASSET CASES
Case No.:                    15-10013-H7                                                           Trustee Name:                               Yvette J. Gonzales
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                                                                                                   Claims Bar Date:                            08/06/2015

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                 Asset Description                    Petition/         Estimated Net Value             Property                Sales/Funds              Asset Fully
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                                                                      Less Liens, Exemptions,                                                          Remaining Assets
                                                                         and Other Costs)

19     Trailers                                             $0.00                       $0.00                                                $0.00                      FA
       1261 Frontage Road
       Socorro, NM 8780 I
Asset Notes:     Value on schedules was 32,600. Assets and values broken down individually, see assets 53 and 66-75.
20     Boat                                            $10,000.00                    $10,000.00                                           $2,750.00                     FA
       1261 Frontage Road
       Socorro, NM 8780 I
Asset Notes:     Auction proceeds per order entered 5/21/2015 doc #70
21      Office Items                                    $7,500.00                     $7,500.00                                              $0.00                      FA
        1261 Frontage Road
        Socorro, NM 8780 I
22      Shop Equipment                                 $51,750.00                    $51,750.00                                       $24,562.66                        FA
Asset Notes:      Auction proceeds per order entered 5/21/2015 doc #70;
23     34 New Ford Floor Planned                   $1,406,852.12                 $1,406,852.12             OA                                $0.00                      FA
       Vehicles
       1261 Frontage Road
       Socorro, NM 8780 I
Asset Notes:     Ordered abandoned per stay order entered 1/16/2015 doc 18
24                                                    $128,787.00                   $128,787.00            OA                                $0.00                      FA
       68 Used Non-Floor Planned
       Vehicles
       1261 Frontage Road
       Socorro, NM 87801
Asset Notes:     Ordered abandoned per stay order entered 1/16/2015 doc 18
25     12 Program Ford Vehicles                      $172,000.00                    $172,000.00            OA                                $0.00                      FA
       1261 Frontage Road
       Socorro, NM 8780 l
Asset Notes:     Ordered abandoned per stay order entered 1/16/2015 doc 18
26     20 Used Floor Planned Vehicles                $346,375.00                    $346,375.00            OA                                $0.00                      FA
       1261 Frontage Road
       Socorro, NM 87801
Asset Notes:     Ordered abandoned per stay order entered 1/16/2015 doc 18
27     Parts                                          $254,697.57                   $254,697.57                                       $20,514.34                        FA
       1261 Frontage Road
       Socorro, NM 8780 l
Asset Notes:     Auction proceeds per order entered 5/21/2015 doc #70
28     2005 John Deer, Tractor Loader                  $15,000.00                    $15,000.00                                       $15,500.00                        FA
       1261 Frontage Road
       Socorro, NM 87801
Asset Notes:     Auction proceeds per order entered 5/21/2015 doc #70
29     #220033 J Massey Ferguson                        $3,500.00                     $3,500.00                                           $2,500.00                     FA
       Tractor
       1261 Frontage Road
       Socorro, NM 8780 I
Asset Notes:     Auction proceeds per order entered 5/21/2015 doc #70
               Case 15-10013-sh7                 Doc 251            Filed 11/02/20              Entered 11/02/20 18:56:21 Page 3 of 24
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                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
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                                                                                                      Claims Bar Date:                            08/06/2015

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                 Asset Description                      Petition/          Estimated Net Value             Property                Sales/Funds                 Asset Fully
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                                                                         Less Liens, Exemptions,                                                             Remaining Assets
                                                                            and Other Costs)

30      Hilton Timeshare-#34-122667                            $0.00                        $0.00                                               $0.00                         FA
        Hilton Grand Vacations
        PO Box 402705
        Atlanta, GA 30384
31     Lease payments on South                  (u)       Unknown                           $0.00                                            $3,000.00                        FA
       California
Asset Notes:      Collateral of Bank of the Southwest. Sent to the Bank.
32      Refund of payroll tax for 4th           (u)       Unknown                         $300.75                                             $300.75                         FA
        quarter of 2014 F-941 REF
33     Rebates owed by Ford Motor           (u)     $19,619.40                         $0.00                                                    $0.00                         FA
       Company
Asset Notes:    added by amendment filed 3/5/2015 doc 43. Offset by Ford Motor Credit Co.
34      Term Life Insurance (Policy#                      Unknown                       $2,970.66                                        $22,568.16                           FA
        44693288) New York Life
Asset Notes:     Amended 6/15/2015 doc 76 changed value and exemption to unknown; Original schedule value was 35,000.00. Although schedules say
                 "Term Life" these are whole life split dollar policies on the life of Charles Monette, who passed away post-petition. Per Order No. 116,
                 1/8/16, proceeds of Assets 34-38 belong to the estate.
35      Term Life Insurance (Policy #                     Unknown                            $804.66                                        $17,939.20                        FA
        45065008) New York Life
Asset Notes:    Amended 6/15/2015 doc 76 changed value and exemption to unknown; Original schedule value was 25,000.00; Per Order No. 116, 1/8/16,
36     Term Life Insurance (Policy #                Unknown                    $2,595.99                                        $35,963.96                                    FA
       44901261) New York Life
Asset Notes:    Amended 6/15/2015 doc 76 changed value and exemption to unknown; Original schedule value was 25,000.00; Per Order No. 116, 1/8/16,
37     Term Life Insurance (Policy #                Unknown                    $1,643.55                                        $16,191.01                                    FA
       44876425) New York Life
Asset Notes:    Amended 6/15/2015 doc 76 changed value and exemption to unknown; Original schedule value was 25,000.00; Per Order No. 116, 1/8/16,
38     Term Life Insurance (Policy #                Unknown                  $157,209.79                                       $211,288.50                                    FA
       47794672) New York Life
Asset Notes:    Amended 6/15/2015 doc 76 changed value and exemption to unknown; Original schedule value was 150,000.00; Per Order No. 116, 1/8/16,
39      Term Life Insurance (Policy #                     Unknown                      $34,219.00                                        $34,232.19                           FA
        1093783) Farm Bureau Life
Asset Notes:     Amended 6/15/2015 doc 76 changed value and exemption to unknown; Original schedule value was 40,000.00; Stipulated order to sell entered
                 1/8/2016 doc 116
40      Term Life Insurance (Policy #                Unknown                    $7,466.69                                              $0.00                                  FA
        1093784) Farm Bureau Life
Asset Notes:     Amended 6/15/2015 doc 76 changed value and exemption to unknown; Original schedule value was 36,000.00.
41      VOID                                                   $0.00                        $0.00                                               $0.00                         FA
Asset Notes:      added by amendment 6/15/2015 doc 77: assets 41-47 are duplicates.
42      VOID                                                   $0.00                        $0.00                                               $0.00                         FA
Asset Notes:      added by amendment 6/15/2015 doc 77
43      VOID                                                   $0.00                        $0.00                                               $0.00                         FA
Asset Notes:      added by amendment 6/15/2015 doc 77
44      VOID                                                   $0.00                        $0.00                                               $0.00                         FA
Asset Notes:      added by amendment 6/15/2015 doc 77
45      VOID                                                   $0.00                        $0.00                                               $0.00                         FA
Asset Notes:
             Case
               added15-10013-sh7
                     by amendment 6/15/2015 Doc
                                            doc 77 251                 Filed 11/02/20              Entered 11/02/20 18:56:21 Page 4 of 24
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                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                  ASSET CASES
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For the Period Ending:        09/30/2020                                                              §341(a) Meeting Date:                       02/06/2015
                                                                                                      Claims Bar Date:                            08/06/2015

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                 Asset Description                       Petition/        Estimated Net Value              Property                Sales/Funds              Asset Fully
                  (Scheduled and                       Unscheduled       (Value Determined by              Abandoned              Received by the        Administered (FA) /
             Unscheduled (u) Property)                    Value                 Trustee,             OA =§ 554(a) abandon.            Estate               Gross Value of
                                                                        Less Liens, Exemptions,                                                           Remaining Assets
                                                                           and Other Costs)

46      VOID                                                    $0.00                       $0.00                                               $0.00                      FA
Asset Notes:        added by amendment 6/15/2015 doc 77
47      VOID                                                    $0.00                       $0.00                                               $0.00                      FA
Asset Notes:        added by amendment 6/15/2015 doc 77
48      Principal Life Insurance                         $59,807.88                         $0.00                                         $58,108.35                       FA
        Company Policy 3460403
Asset Notes:      added by amendment 6/15/2015 doc 76; Whole life policy. Exemption claimed, objection filed. Under advisement; Values stated are death
                  value at time of filing. Amended schedule values of "unknown" are after death of named insured; Stipulated order to sell entered 1/8/2016 doc
                  116.
49      Rental income from 2013 Rose            (u)      Unknown                             N/A             OA                             $6,600.00                      FA
       Lane, Las Cruces, NM
Asset Notes:     Ntc of abandonment filed 11/23/15 doc 106
50      VOID                                                    $0.00                       $0.00                                               $0.00                      FA
51      CenturyLink Refund                       (u)       Unknown                          $8.60                                              $29.30                      FA
52      VOID                                                    $0.00                       $0.00                                               $0.00                      FA
53      2 Storage Units                                    $4,000.00                    $4,000.00                                            $5,400.00                     FA
Asset Notes:        Listed as "metal shipping containers" on schedules; Auction proceeds per order entered 5/21/2015 doc #70
54      John Deere RX75 Lawnmower                (u)       Unknown                         $50.00                                              $50.00                      FA
Asset Notes:     Not part of itemization on schedule "B", "Titled vehicles" per agreement with Ford Motor Credit; Auction proceeds per order entered
                 5/21/2015 doc #70
55      E-Z Go 6 Passenger Electric            (u)       Unknown                       $1,600.00                                         $1,600.00                         FA
        Golf Cart
Asset Notes:    Not part of itemization on schedule "B", "Titled vehicles" per agreement with Ford Motor Credit; Auction proceeds per order entered
                5/21/2015 doc #70
56      2004 Dodge Stratus                    (u)       Unknown                         $300.00                                           $300.00                          FA
Asset Notes:     Not part of itemization on schedule "B", "Titled vehicles" per agreement with Ford Motor Credit; Auction proceeds per order entered
                 5/21/2015 doc #70
57      1999 Ford E-350 XLT                    (u)       Unknown                         $350.00                                           $350.00                         FA
        Passenger Van
Asset Notes:    Not part of itemization on schedule "B", "Titled vehicles" per agreement with Ford Motor Credit; Auction proceeds per order entered
                5/21/2015 doc #70
58      Late Model 50's Ford F-5              (u)       Unknown                       $1,600.00                                         $1,600.00                          FA
        Flatbed Truck
Asset Notes:    Not part of itemization on schedule "B", "Titled vehicles" per agreement with Ford Motor Credit; Auction proceeds per order entered
                5/21/2015 doc #70
59      2001 Chevrolet Silverado              (u)       Unknown                         $600.00                                           $600.00                          FA
Asset Notes:     Not part of itemization on schedule "B", "Titled vehicles" per agreement with Ford Motor Credit; Auction proceeds per order entered
                 5/21/2015 doc #70
60      2002 Ford Escort                       (u)       Unknown                         $300.00                                           $300.00                         FA
Asset Notes:     Not part of itemization on schedule "B", "Titled vehicles" per agreement with Ford Motor Credit; Auction proceeds per order entered
                 5/21/2015 doc #70
61      Ford F-150 Bed                         (u)       Unknown                         $100.00                                           $100.00                         FA
Asset Notes:     Not part of itemization on schedule "B", "Titled vehicles" per agreement with Ford Motor Credit; Auction proceeds per order entered
                 5/21/2015 doc #70
62      Dodge Pickup Bed                       (u)       Unknown                          $25.00                                             $25.00                        FA
Asset Notes:
             Case   15-10013-sh7 Doc 251 Filed 11/02/20 Entered 11/02/20 18:56:21 Page 5 of 24
               Not part of itemization on schedule "B", "Titled vehicles" per agreement with Ford Motor Credit; Auction proceeds per order entered
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                                                                                                      Claims Bar Date:                             08/06/2015

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                 Asset Description                      Petition/         Estimated Net Value               Property                Sales/Funds               Asset Fully
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                                                                        Less Liens, Exemptions,                                                             Remaining Assets
                                                                           and Other Costs)

                  5/21/2015 doc #70
Ref. #
63       2000 Chevrolet Cavalier                (u)       Unknown                            $0.00                                             $300.00                       FA
Asset Notes:      Not part of itemization on schedule "B", "Titled vehicles" per agreement with Ford Motor Credit; Auction proceeds per order entered
                  5/21/2015 doc #70
64       VOID                                                  $0.00                        $0.00                                              $0.00                         FA
65       VOID                                                   $0.00                        $0.00                                               $0.00                       FA
66     1990 Phelps 20'x6' Stock FB                     $4,000.00                        $4,000.00                                             $2,200.00                      FA
       13094 3683 TRH
Asset Notes:    Auction proceeds per order entered 5/21/2015 doc #70
67       1997 Tru Horse Trailer                           $2,500.00                     $2,500.00                                             $2,000.00                      FA
Asset Notes:      Auction proceeds per order entered 5/21/2015 doc #70
68     1975 Champion 16' Stock FB                   $1,000.00                      $1,000.00                                           $600.00                               FA
       106499098 TRD
Asset Notes:   Listed on Auction Report as 1975 Champion Livestock Trailer, 17'x8'; Auction proceeds per order entered 5/21/2015 doc #70
69     2004 Parker Gooseneck Car                       $3,500.00                        $3,500.00                                             $3,600.00                      FA
       Hauler
Asset Notes:    Auction proceeds per order entered 5/21/2015 doc #70
70       1996 Gooseneck single Axle                       $1,600.00                     $1,600.00                                             $1,250.00                      FA
Asset Notes:      Listed as 1985 Paul's Custom 25'X8' Trailers Gooseneck on auction report; Auction proceeds per order entered 5/21/2015 doc #70
71     2000 Utility Trailer                              $900.00                        $900.00                                           $800.00                            FA
       16VAX1011Y1A2997
Asset Notes:     Auction Report lists as 2000 Big Tex BGT 30SA Utility Trailer 13'x7'; Auction proceeds per order entered 5/21/2015 doc #70
72     1998 Pero Cayed Trailer 20282                     $800.00                          $800.00                                             $1,000.00                      FA
       TRT Green w/ sides
Asset Notes:    Auction proceeds per order entered 5/21/2015 doc #70
73       1994 Trash Trailer                                 $800.00                       $800.00                                              $100.00                       FA
Asset Notes:      Listed on auction list as 1995 Homemade Truckbed Trailer; Auction proceeds per order entered 5/21/2015 doc #70
74       3 House Trailers                                $12,000.00                    $12,000.00                                              $900.00                       FA
Asset Notes:      Listed as Mobile Home w/ contents on Auction Report; Auction proceeds per order entered 5/21/2015 doc #70
75       1953 Fruehauf Semi LTR                           $1,500.00                     $1,500.00                                              $400.00                       FA
Asset Notes:      Auction proceeds per order entered 5/21/2015 doc #70
76       VOID                                                   $0.00                        $0.00                                               $0.00                       FA
77       VOID                                                   $0.00                        $0.00                                               $0.00                       FA
78       VOID                                                   $0.00                        $0.00                                               $0.00                       FA


TOTALS (Excluding unknown value)                                                                                                              Gross Value of Remaining Assets
                                                      $5,910,370.66                 $3,257,786.30                                         $955,771.39                  $0.00




     Major Activities affecting case closing:
      09/16/2020  Trustee to file tax returns. Law firm and accountant to file final fee applications, then can prepare TFR.
      09/30/2019  Trustee has a motion to sell the balance of the real estate contract. The real property is set to be sold at auction.
      09/30/2018  Trustee investigating selling remaining real property by auction. Objection to claims will be filed.
              CaseReceiving
      09/30/2017    15-10013-sh7
                             payments on REK/memoDoc account,
                                                         251 two   Filed
                                                                      parcels11/02/20
                                                                               of land to sell andEntered
                                                                                                  still receiving11/02/20        18:56:21
                                                                                                                  AR's on in-house               Page
                                                                                                                                     financed vehicles.   6 of 24
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                         1                                 2                       3                            4                          5                        6

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                                                                        Less Liens, Exemptions,                                                             Remaining Assets
                                                                           and Other Costs)

     09/30/2016      Collecting on REK and on vehicles. Waiting for life insurance proceeds check. Trying to find realtor to sell real property. Realtor that
                     was contacted before could not find the property.
     09/30/2015      Regarding assets #34-39 - The beneficiary was first to the corporation via split dollar proceeds. There was an exemption filed, an
                     objection and the matter is under advisement. Assets 12-15 are being collected by Advantage Collection Professionals, LLC per 5/7/15
                     order, Doc #65. Estate receives 10% of all collections. Asset #s 19-22, 27, 53-62 were sold at auction, along with all other personal
                     property. Ford Motor Credit and the estate are disputing the extent of Ford's lien. The estate will receive at least 10% of auction
                     proceeds. The Trustee is attempting to find a realtor to list the Luis Lopez, Lemitar and Valencia property.


Initial Projected Date Of Final Report (TFR):            06/30/2018                                                       /s/ YVETTE J. GONZALES
Current Projected Date Of Final Report (TFR):            03/30/2021                                                       YVETTE J. GONZALES




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                                                                         FORM 2
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-10013-H7                                                                Trustee Name:                            Yvette Gonzales
Case Name:                         MONETTE FORD, INC.                                                         Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***7675                                                                 Checking Acct #:                         ******0576
Co-Debtor Taxpayer ID #:                                                                                      Account Title:
For Period Beginning:              1/6/2015                                                                   Blanket bond (per case limit):           $1,000,000.00
For Period Ending:                 09/30/2020                                                                 Separate bond (if applicable):

       1                2                       3                                  4                                             5                 6                   7

   Transaction       Check /             Paid to/                     Description of Transaction               Uniform         Deposit        Disbursement        Balance
      Date            Ref. #          Received From                                                           Tran Code          $                 $


02/02/2015            (12)     Yolanda Peralta              In house retail installments per order            1121-000            $150.00                                  $150.00
                                                            entered 5/7/2015 doc 65,
02/02/2015            (13)     Jimmy J. Johnson             Parts and Service Account                         1121-000            $300.00                                  $450.00
02/06/2015                     Walker & Associates          In house retail installments per order                *            $68,291.56                           $68,741.56
                                                            entered 5/7/2015 doc 65, and bank
                                                            account
                      {12}                                  In house retail installments          $2,071.79   1121-000                                              $68,741.56
                                                            per order entered 5/7/2015
                                                            doc 65,
                      {10}                                  Bank account                         $66,219.77   1129-000                                              $68,741.56
02/06/2015            (12)     NMEFCU                       In house retail installments per order            1121-000            $225.81                           $68,967.37
                                                            entered 5/7/2015 doc 65,
02/06/2015            (12)     Lavern and Walter            In house retail installments per order            1121-000            $707.89                           $69,675.26
                               Robinson                     entered 5/7/2015 doc 65,
02/06/2015            (12)     Mary Melton                  In house retail installments per order            1121-000            $204.00                           $69,879.26
                                                            entered 5/7/2015 doc 65,
02/06/2015            (12)     Paul R. Heintz               In house retail installments per order            1121-000            $250.00                           $70,129.26
                                                            entered 5/7/2015 doc 65,
02/06/2015            (12)     Danny and Sabrina Julian     In house retail installments per order            1121-000            $375.02                           $70,504.28
                                                            entered 5/7/2015 doc 65,
02/06/2015            (12)     Marney Lutz?                 In house retail installments per order            1121-000            $349.68                           $70,853.96
                                                            entered 5/7/2015 doc 65,
02/06/2015            (12)     Lloyd Candelaria             In house retail installments per order            1121-000            $275.00                           $71,128.96
                                                            entered 5/7/2015 doc 65,
02/06/2015            (12)     Lloyd Candelaria             In house retail installments per order            1121-000            $275.00                           $71,403.96
                                                            entered 5/7/2015 doc 65,
02/06/2015            (12)     Lucy Perez                   In house retail installments per order            1121-000            $375.00                           $71,778.96
                                                            entered 5/7/2015 doc 65,
02/06/2015            (12)     Jesus Granadoz, jr.          In house retail installments per order            1121-000            $300.00                           $72,078.96
                                                            entered 5/7/2015 doc 65,
02/06/2015            (13)     Socorro County               Parts and service accounts                        1121-000               $63.99                         $72,142.95
02/06/2015            (13)     Pauline Taylor               Parts and Service Account                         1121-000               $50.00                         $72,192.95
02/09/2015            (12)     Matthew Montoya              In house retail installments per order            1121-000            $269.00                           $72,461.95
                                                            entered 5/7/2015 doc 65,
02/09/2015            (12)     Gilbert and Jane Apps        In house retail installments per order            1121-000            $202.12                           $72,664.07
                                                            entered 5/7/2015 doc 65,
02/16/2015            (12)     Corene A. Torres             In house retail installments per order            1121-000            $216.67                           $72,880.74
                                                            entered 5/7/2015 doc 65,
02/16/2015            (12)     Maria Lerma                  In house retail installments per order            1121-000            $349.68                           $73,230.42
                                                            entered 5/7/2015 doc 65,
02/20/2015            (9)      US Bank                      Unexempt cash                                     1129-000          $4,500.00                           $77,730.42
02/20/2015            (12)     Frances Torres               In house retail installments per order            1121-000            $225.00                           $77,955.42
                                                            entered 5/7/2015 doc 65,

                 Case 15-10013-sh7                   Doc 251      Filed 11/02/20               Entered 11/02/20 18:56:21
                                                                                                                 $77,955.42
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                                                                                                          SUBTOTALS
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                                                                         FORM 2
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-10013-H7                                                          Trustee Name:                            Yvette Gonzales
Case Name:                         MONETTE FORD, INC.                                                   Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***7675                                                           Checking Acct #:                         ******0576
Co-Debtor Taxpayer ID #:                                                                                Account Title:
For Period Beginning:              1/6/2015                                                             Blanket bond (per case limit):           $1,000,000.00
For Period Ending:                 09/30/2020                                                           Separate bond (if applicable):

       1                2                        3                                 4                                       5                 6                   7

   Transaction       Check /              Paid to/                    Description of Transaction         Uniform         Deposit        Disbursement        Balance
      Date            Ref. #           Received From                                                    Tran Code          $                 $


02/20/2015            (12)     Delilah A. Garcia            In house retail installments per order      1121-000            $363.01                           $78,318.43
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Sheila J. Frost              In house retail installments per order      1121-000               $25.00                         $78,343.43
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Sheila J. Frost              In house retail installments per order      1121-000            $175.00                           $78,518.43
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Roberta M. Chavez            In house retail installments per order      1121-000            $229.87                           $78,748.30
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Robert M. Chavez             In house retail installments per order      1121-000            $307.85                           $79,056.15
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Robert Vivian                In house retail installments per order      1121-000            $251.36                           $79,307.51
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Ruben or Ida Olivas          In house retail installments per order      1121-000            $194.40                           $79,501.91
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Alice Kablik                 In house retail installments per order      1121-000            $308.27                           $79,810.18
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Jesus Granadoz, Jr.          In house retail installments per order      1121-000            $226.00                           $80,036.18
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Jesus Granadoz, Jr           In house retail installments per order      1121-000            $226.00                           $80,262.18
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Mary Melton                  In house retail installments per order      1121-000            $204.00                           $80,466.18
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Elsa Acevedo                 In house retail installments per order      1121-000            $128.50                           $80,594.68
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Rachel Pino                  In house retail installments per order      1121-000            $350.00                           $80,944.68
                                                            entered 5/7/2015 doc 65,
02/20/2015            (12)     Eddie G. Nuanes              In house retail installments per order      1121-000            $381.25                           $81,325.93
                                                            entered 5/7/2015 doc 65,
02/20/2015            (13)     Danny and Sabrina Lujan      Parts and service accounts                  1121-000            $354.00                           $81,679.93
02/20/2015            (13)     Paul R. Heintz               Parts and service accounts                  1121-000            $250.00                           $81,929.93
02/20/2015            (13)     Timothy Andazola             Parts and service accounts                  1121-000            $220.00                           $82,149.93
02/20/2015            (13)     George Green                 Parts and service accounts                  1121-000            $250.00                           $82,399.93
02/25/2015            (12)     Nathan Chavez                In house retail installments per order      1121-000            $440.00                           $82,839.93
                                                            entered 5/7/2015 doc 65,
02/27/2015                     Bank of Texas                Account Analysis Fee                        2600-000                             $73.80           $82,766.13
03/02/2015            (12)     Ruben or Ida Olivas          Deposit made on 2/20/2015 was typed as      1121-000                $1.00                         $82,767.13
                                                            194.40, should have been 195.40; this
                                                            entry is correcting that.
03/04/2015            (12)     Lavern & Walter Robinson     In house retail installments per order      1121-000            $707.89                           $83,475.02
                                                            entered 5/7/2015 doc 65,
03/18/2015            (16)     Debbie and Chet DeMoss       Memo Account DeMoss                         1129-000          $1,000.00                           $84,475.02
03/18/2015            (31)     C bar D Trailer              Lease payments on South California          1222-000          $1,000.00                           $85,475.02
                               Sales/Service

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                                                                                                                  $7,593.40
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                                                                                                      SUBTOTALS
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                                                                           FORM 2
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-10013-H7                                                                  Trustee Name:                          Yvette Gonzales
Case Name:                         MONETTE FORD, INC.                                                           Bank Name:                             Bank of Texas
Primary Taxpayer ID #:             **-***7675                                                                   Checking Acct #:                       ******0576
Co-Debtor Taxpayer ID #:                                                                                        Account Title:
For Period Beginning:              1/6/2015                                                                     Blanket bond (per case limit):         $1,000,000.00
For Period Ending:                 09/30/2020                                                                   Separate bond (if applicable):

       1                2                      3                                      4                                            5               6                   7

   Transaction       Check /             Paid to/                       Description of Transaction               Uniform         Deposit      Disbursement        Balance
      Date            Ref. #          Received From                                                             Tran Code          $               $


03/31/2015                     Bank of Texas                  Account Analysis Fee                              2600-000                          $135.69           $85,339.33
04/03/2015            (32)     United States Treasury         Refund of payroll tax for the 4th Quarter         1224-000            $300.75                         $85,640.08
                                                              of 2014 F-941 Ref
04/08/2015                     Advantage Collection           per order entered 5/7/2015 doc 65                     *            $15,597.31                       $101,237.39
                               Professionals, Inc
                      {12}                                    Vehicle payments                    $21,308.67    1121-000                                          $101,237.39
                                                              Collection fees                     $(5,711.36)   3991-000                                          $101,237.39
04/17/2015            (16)     Debbie and Chet DeMoss         Memo Account DeMoss                               1129-000          $1,000.00                       $102,237.39
04/17/2015            (31)     C bar D Traler Sales           Lease payments on South California                1222-000          $1,000.00                       $103,237.39
04/24/2015           5001      Socorro Electric               Past due electric on Acct. #10469002              2420-000                         $1,144.38        $102,093.01
                               Cooperative
04/24/2015           5002      Socorro Electric               Deposit to turn electricity on.                   2420-000                          $753.00         $101,340.01
                               Cooperative
04/24/2015           5003      City of Socorro                Per order #61, 4/21/2015                          2420-000                         $1,759.03          $99,580.98
04/30/2015            (16)     Debbie and Chet DeMoss         Memo Account DeMoss                               1129-000          $1,000.00                       $100,580.98
04/30/2015            (31)     C bar D Trailer                Lease payments on South California                1222-000          $1,000.00                       $101,580.98
                               Sales/Service
04/30/2015                     Bank of Texas                  Account Analysis Fee                              2600-000                          $151.61         $101,429.37
04/30/2015           5004      Bank of the Southwest          per order #61, 4/21/15 Turnover of rents          2420-000                         $3,000.00          $98,429.37
                                                              received post-petition
05/06/2015            (16)     Debbie and Chet Demoss         Memo Account DeMoss                               1129-000          $1,000.00                         $99,429.37
05/08/2015            (12)     Advantage Collection           Check didnt have the MICR payor sent a            1121-000         $19,480.98                        $118,910.35
                               Professionals, LLC             replacement #4359. Vehicle payments
05/11/2015                     Advantage Collection           per order entered 5/7/2015 doc 65,                    *            $19,480.98                       $138,391.33
                               Professionals, LLC             replacement check for ACP's check #4359
                                                              deposit date 5/8/2015
                      {12}                                    Vehicle payments                   $26,014.41     1121-000                                          $138,391.33
                                                              Collection fees                     $(6,533.43)   3991-000                                          $138,391.33
05/11/2015            (12)     DEP REVERSE: Advantage         Check didnt have the MICR payor sent a            1121-000      ($19,480.98)                         $118,910.35
                               Collection Professionals,      replacement #4359. Vehicle payments
05/29/2015                     Bank of Texas                  Account Analysis Fee                              2600-000                          $180.28          $118,730.07
06/03/2015            (16)     Debbie and Chet Demoss         Memo Account DeMoss                               1129-000          $1,000.00                        $119,730.07
06/05/2015                     Advantage Collection           per order entered 5/7/2015 doc 65                     *            $18,934.62                       $138,664.69
                               Professionals
                      {12}                                    Vehicle payments                    $25,339.00    1121-000                                          $138,664.69
                                                              Collection fees                     $(6,404.38)   3991-000                                          $138,664.69
06/18/2015           5005      City of Socorro                Per order #61, 4/21/2015                          2420-000                          $648.82         $138,015.87
06/18/2015           5006      Socorro Electric               Per order #61, 4/21/2015                          2420-000                          $143.79         $137,872.08
                               Cooperative
06/22/2015            (39)     Monette Ford, Inc.             Term life insurance-Stipulated order to           1129-000         $34,216.00                       $172,088.08
                                                              sell entered 1/8/2016 doc 116
06/22/2015            (48)     Principal Life Insurance Co,   Principle Life Insurance- Stipulated order        1229-000         $58,108.35                       $230,196.43
                                                              to sell entered 1/8/2016 doc 116
             Case 15-10013-sh7                      Doc 251        Filed 11/02/20               Entered 11/02/20 18:56:21
                                                                                                                  $152,638.01
                                                                                                                              Page  10 of 24
                                                                                                                                 $7,916.60
                                                                                                           SUBTOTALS
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                                                                           FORM 2
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-10013-H7                                                                  Trustee Name:                            Yvette Gonzales
Case Name:                         MONETTE FORD, INC.                                                           Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***7675                                                                   Checking Acct #:                         ******0576
Co-Debtor Taxpayer ID #:                                                                                        Account Title:
For Period Beginning:              1/6/2015                                                                     Blanket bond (per case limit):           $1,000,000.00
For Period Ending:                 09/30/2020                                                                   Separate bond (if applicable):

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   Transaction       Check /              Paid to/                      Description of Transaction               Uniform         Deposit        Disbursement        Balance
      Date            Ref. #           Received From                                                            Tran Code          $                 $


06/25/2015           5007      Strategic Funding Source,      Payment to secured creditor, Motion #37,          4210-000                          $47,230.48        $182,965.95
                               Inc.                           Order #65, 5/7/15.
06/30/2015                     Bank of Texas                  Account Analysis Fee                              2600-000                            $234.84          $182,731.11
07/01/2015            (49)     Joseph Montoya                 Rental income for 2013 Rose Lane                  1222-000            $550.00                          $183,281.11
07/01/2015            (49)     Joseph Montoya                 Rental income for 2013 Rose Lane                  1222-000            $550.00                          $183,831.11
07/10/2015                     Advantage Collection           per order entered 5/7/2015 doc 65                     *             $9,306.85                         $193,137.96
                               Professionals, LLC
                      {12}                                    Vehicle payments                    $12,042.77    1121-000                                            $193,137.96
                                                              collection fees                     $(2,735.92)   3991-000                                            $193,137.96
07/10/2015            (49)     Joseph E. Montoya              Rental income for 2013 Rose Lane                  1222-000            $550.00                         $193,687.96
07/13/2015            (16)     Debbie Demoss                  Memo Account DeMoss                               1129-000          $1,000.00                         $194,687.96
07/31/2015            (51)     CenturyLink                    CenturyLink refund                                1229-000                $8.60                       $194,696.56
07/31/2015                     Bank of Texas                  Account Analysis Fee                              2600-000                            $306.62         $194,389.94
08/07/2015                     Advantage Collection           per order entered 5/7/2015 doc 65                     *            $12,618.71                         $207,008.65
                               Professionals, LLC
                      {12}                                    In house retail contracts           $16,824.85    1121-000                                            $207,008.65
                                                              Collection fees                     $(4,206.14)   3991-000                                            $207,008.65
08/11/2015            (16)     Debbie DeMoss                  Memo Account DeMoss                               1129-000          $1,000.00                         $208,008.65
08/11/2015            (39)     Living Tradition Account       Balance on account-Stipulated order to            1129-000               $16.19                       $208,024.84
                                                              sell entered 1/8/2016 doc 116
08/12/2015            (49)     Joseph Montoya                 Rental income for 2013 Rose Lane                  1222-000            $550.00                         $208,574.84
08/12/2015           5008      International Sureties, Ltd.   Bond Payment                                      2300-000                            $113.62         $208,461.22




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                                                                                                                 $26,150.35
                                                                                                                            Page  11 of 24
                                                                                                                              $47,885.56
                                                                                                           SUBTOTALS
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                                                                           FORM 2
                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          15-10013-H7                                                               Trustee Name:                          Yvette Gonzales
Case Name:                        MONETTE FORD, INC.                                                        Bank Name:                             Bank of Texas
Primary Taxpayer ID #:            **-***7675                                                                Checking Acct #:                       ******0576
Co-Debtor Taxpayer ID #:                                                                                    Account Title:
For Period Beginning:             1/6/2015                                                                  Blanket bond (per case limit):         $1,000,000.00
For Period Ending:                09/30/2020                                                                Separate bond (if applicable):

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   Transaction       Check /             Paid to/                    Description of Transaction              Uniform         Deposit      Disbursement        Balance
      Date            Ref. #          Received From                                                         Tran Code          $               $


08/14/2015                     Bentley & Associates, LLC   Auction proceeds per order entered                   *            $64,739.34                       $273,200.56
                                                           5/21/2015 doc #70
                                                           Auctioneer expenses per           $(6,702.28)    3620-000                                          $273,200.56
                                                           Order to employ entered
                                                           5/11/15 doc 68
                                                           Auctioneer commission            $(17,860.38)    3610-000                                          $273,200.56
                                                           per Order to employ
                                                           entered 5/11/15 doc 68
                      {28}                                 Sale of John Deere tractor        $15,500.00     1129-000                                          $273,200.56
                      {53}                                 Sale of storage units              $5,400.00     1129-000                                          $273,200.56
                      {54}                                 Sale of John Deere                      $50.00   1229-000                                          $273,200.56
                                                           lawnmower
                      {20}                                 Sale of boat                       $2,750.00     1129-000                                          $273,200.56
                      {55}                                 Sale of golf cart                  $1,600.00     1229-000                                          $273,200.56
                      {56}                                 Sale of 2004 Dodge Stratus             $300.00   1229-000                                          $273,200.56
                      {57}                                 Sale of1999 Ford Van                   $350.00   1229-000                                          $273,200.56
                      {58}                                 Sale of late model 50's            $1,600.00     1229-000                                          $273,200.56
                                                           Ford truck
                      {59}                                 Sale of 2001 Chevy                     $600.00   1229-000                                          $273,200.56
                                                           Silverado truck
                      {60}                                 Sale of 2002 Ford Escort               $300.00   1229-000                                          $273,200.56
                      {63}                                 Sale of 2000 Chevrolet                 $300.00   1229-000                                          $273,200.56
                                                           Cavalier
                      {61}                                 Sale of Ford F-150 truck               $100.00   1229-000                                          $273,200.56
                                                           bed
                      {62}                                 Sale of Dodge truck bed                 $25.00   1229-000                                          $273,200.56
                      {27}                                 Sale of parts                     $20,514.34     1129-000                                          $273,200.56
                      {29}                                 Sale of Massey Trailer             $2,500.00     1129-000                                          $273,200.56
                      {66}                                 Sale of 1990 Phelps 20'x6'         $2,200.00     1129-000                                          $273,200.56
                                                           Stock FB 13094 3683
                                                           TRH
                      {67}                                 Sale of 1997 Tru Horse             $2,000.00     1129-000                                          $273,200.56
                                                           Trailer
                      {68}                                 Sale of 1975 Champion 16               $600.00   1129-000                                          $273,200.56
                                                           Stock FB 106499098 TRD
                      {69}                                 Sale of 2004 Parker                $3,600.00     1129-000                                          $273,200.56
                                                           Gooseneck Car Hauler
                      {70}                                 Sale of 1996 Gooseneck             $1,250.00     1129-000                                          $273,200.56
                                                           single Axle
                      {71}                                 Sale of 2000 Big Tex BGT               $800.00   1129-000                                          $273,200.56
                                                           30SA Utility Trailer 13'x7'
                      {72}                                 Sale of 1998 Pero Cayed            $1,000.00     1129-000                                          $273,200.56
                                                           Trailer
                      {73}                                 Sale of 1994 Trash Trailer             $100.00   1129-000                                          $273,200.56
                      {75}                                 Sale of 1953 Fruehauf                  $400.00   1129-000                                          $273,200.56
                                                           Semi LTR

             Case 15-10013-sh7                  Doc 251         Filed 11/02/20             Entered 11/02/20 18:56:21
                                                                                                              $64,739.34
                                                                                                                         Page 12  of 24
                                                                                                                              $0.00
                                                                                                        SUBTOTALS
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                                                                       FORM 2
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-10013-H7                                                               Trustee Name:                           Yvette Gonzales
Case Name:                         MONETTE FORD, INC.                                                        Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***7675                                                                Checking Acct #:                        ******0576
Co-Debtor Taxpayer ID #:                                                                                     Account Title:
For Period Beginning:              1/6/2015                                                                  Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                 09/30/2020                                                                Separate bond (if applicable):

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   Transaction       Check /             Paid to/                    Description of Transaction               Uniform         Deposit      Disbursement          Balance
      Date            Ref. #          Received From                                                          Tran Code          $               $


                      {74}                                 Sale of 3 Mobile Homes                 $900.00    1129-000                                            $273,200.56
                                                           w/ content
                      {22}                                 Sale of Shop equipment              $24,562.66    1129-000                                            $273,200.56
                                                           secured by Ford Motor
                                                           Credit
08/21/2015           5009      Strategic Funding Source,   Payment to secured creditor, Motion #37,          4210-000                         $19,038.80         $254,161.76
                               Inc.                        Order #65, 5/7/15.
08/31/2015                     Bank of Texas               Account Analysis Fee                              2600-000                           $371.54          $253,790.22
08/31/2015                     City of Socorro             Refund on Check# 5002                             2420-002                          ($283.42)         $254,073.64
09/09/2015                     Advantage Collection        per order entered 5/7/2015 doc 65                     *             $9,809.92                         $263,883.56
                               Profes,
                      {12}                                 Vehicle payments                    $13,079.83    1121-000                                            $263,883.56
                                                           Collection Fees                     $(3,269.91)   3991-000                                            $263,883.56
09/11/2015            (49)     Joseph Montoya              Rental income for 2013 Rose Lane                  1222-000            $550.00                         $264,433.56
09/14/2015           5010      Ford Credit                 proceeds of auction per 5/21/2015 order;          4210-000                         $13,605.47         $250,828.09
                                                           Doc. #70
09/16/2015            (16)     Debbie DeMoss               Memo Account DeMoss                               1129-000          $1,000.00                         $251,828.09
09/30/2015                     Bank of Texas               Account Analysis Fee                              2600-000                           $403.15          $251,424.94
10/06/2015                     Advantage Collection        per order entered 5/7/2015 doc 65                     *             $4,570.17                          $255,995.11
                               Professionals, LLC
                      {12}                                 Vehicle payments                     $6,093.52    1121-000                                             $255,995.11
                                                           Collection fees                     $(1,523.35)   3991-000                                             $255,995.11
10/09/2015            (49)     Joseph Montoya              Rental income for 2013 Rose Lane                  1222-000            $550.00                          $256,545.11
10/16/2015            (16)     Debbie & Chet DeMoss        Memo Account DeMoss                               1129-000          $1,000.00                          $257,545.11
10/30/2015                     Bank of Texas               Account Analysis Fee                              2600-000                           $412.56          $257,132.55
11/09/2015                     Advantage Collection        per order entered 5/7/2015 doc 65                     *             $4,833.82                         $261,966.37
                               Professionals, LLC
                      {12}                                 Vehicle Payments                     $6,445.02    1121-000                                            $261,966.37
                                                           Collection fees                     $(1,611.20)   3991-000                                            $261,966.37
11/18/2015            (49)     Joseph E. Montoya           Rental income for 2013 Rose Lane                  1222-000            $550.00                         $262,516.37
11/20/2015            (16)     Debbie and Chet DeMoss      Memo Account DeMoss                               1129-000          $1,000.00                         $263,516.37
11/20/2015            5011     Strategic Funding Source,   Per order, docket #65, 5/7/2015                   4210-000                         $16,652.07         $246,864.30
                               Inc.
11/30/2015                     Bank of Texas               Account Analysis Fee                              2600-000                           $401.80          $246,462.50
12/04/2015                     The Socorro Electric        Refund of electric co-op 1998                     2420-002                           ($76.05)         $246,538.55
                               Cooperative, Inc
12/04/2015                     The Socorro Electric        Refund of electric co-op 1998                     2420-002                          ($315.88)         $246,854.43
                               Cooperative, Inc
12/04/2015                     The Socorro Electric        Refund of electric co-op 1998                     2420-002                             ($2.81)        $246,857.24
                               Cooperative, Inc
12/04/2015                     The Socorro Electric        Refund of electric co-op 1998                     2420-002                             ($5.06)        $246,862.30
                               Cooperative, Inc


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                                                                                                                $23,863.91
                                                                                                                           Page  13 of 24
                                                                                                                             $50,202.17
                                                                                                        SUBTOTALS
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                                                                      FORM 2
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          15-10013-H7                                                                 Trustee Name:                           Yvette Gonzales
Case Name:                        MONETTE FORD, INC.                                                          Bank Name:                              Bank of Texas
Primary Taxpayer ID #:            **-***7675                                                                  Checking Acct #:                        ******0576
Co-Debtor Taxpayer ID #:                                                                                      Account Title:
For Period Beginning:              1/6/2015                                                                   Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                 09/30/2020                                                                 Separate bond (if applicable):

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   Transaction       Check /             Paid to/                   Description of Transaction                 Uniform         Deposit      Disbursement         Balance
      Date            Ref. #          Received From                                                           Tran Code          $               $


12/09/2015                     Advantage Collection       per order entered 5/7/2015 doc 65                       *             $4,046.93                        $250,909.23
                               Professionals, LLC
                      {12}                                Vehicle payments                      $5,395.85     1121-000                                           $250,909.23
                                                          Collection Fees                       $(1,348.92)   3991-000                                           $250,909.23
12/09/2015           5012      GEORGE D GIDDENS,          75% of fees per Doc. No. 32, 2/18/15                3210-000                         $18,210.48        $232,698.75
                               JR
12/09/2015           5013      GEORGE D GIDDENS,          100% of expenses, per Doc. No. 32,                  3220-000                           $887.15          $231,811.60
                               JR                         2/18/15
12/14/2015            (16)     Debbie Demoss              Memo Account DeMoss                                 1129-000          $1,000.00                         $232,811.60
12/16/2015            (49)     Joseph Montoya             Rental income for 2013 Rose Lane                    1222-000            $550.00                        $233,361.60
12/31/2015                     Bank of Texas              Account Analysis Fee                                2600-000                           $403.89         $232,957.71
01/08/2016            (16)     Debbie Demoss              Memo Account DeMoss                                 1129-000          $1,000.00                        $233,957.71
01/11/2016                     Advantage Collection       per order entered 5/7/2015 doc 65                       *             $3,023.20                        $236,980.91
                               Professionals, LLC
                      {12}                                Vehicle payments                      $4,030.89     1121-000                                           $236,980.91
                                                          Collection fees                       $(1,007.69)   3991-000                                           $236,980.91
01/19/2016            (49)     Joseph Montoya             Rental income for 2013 Rose Lane                    1222-000            $550.00                        $237,530.91
01/29/2016                     Bank of Texas              Account Analysis Fee                                2600-000                           $389.14         $237,141.77
02/05/2016                     Advantage Collection       per order entered 5/7/2015 doc 65                       *             $3,640.69                        $240,782.46
                               Professionals
                      {12}                                Vehicle payments                      $4,854.21     1121-000                                           $240,782.46
                                                          Collection Fees                       $(1,213.52)   3991-000                                           $240,782.46
02/05/2016           5014      Ford Credit                Auction proceeds on non-parts and                   4210-000                         $14,837.37        $225,945.09
                                                          non-titled vehicles per order #113,
                                                          12/17/2015
02/09/2016           5015      Charlotte Monette          per order #116, 1/8/2016, compromise on             8500-000                         $42,436.93        $183,508.16
                                                          life insurance proceeds
02/19/2016            (49)     Joseph Montoya             Rental income for 2013 Rose Lane                    1222-000            $550.00                        $184,058.16
02/29/2016                     Bank of Texas              Account Analysis Fee                                2600-000                           $328.91         $183,729.25
03/01/2016            (16)     Debbie DeMoss              Memo Account DeMoss                                 1129-000          $1,000.00                        $184,729.25
03/04/2016            (16)     Debbie Demoss              Memo Account DeMoss                                 1129-000          $1,000.00                        $185,729.25
03/07/2016                     Advantage Collection       per order entered 5/7/2015 doc 65                       *             $4,994.78                        $190,724.03
                               Professionals, LLC
                      {12}                                Vehicle payments                      $6,659.65     1121-000                                           $190,724.03
                                                          Collection fees                       $(1,664.87)   3991-000                                           $190,724.03
03/16/2016            (49)     Joseph E. Montoya          Rental income for 2013 Rose Lane                    1222-000            $550.00                        $191,274.03
03/18/2016           5016      GEORGE D GIDDENS,          25% "holdback" on fees per                          3210-000                          $6,070.16        $185,203.87
                               JR                         compensation order #117, 1/28/16
03/18/2016           5017      GEORGE D GIDDENS,          75% fees per employment order #32,                  3210-000                          $4,875.69        $180,328.18
                               JR                         2/18/15
03/18/2016           5018      GEORGE D GIDDENS,          100% expenses per employment order                  3220-000                           $373.64         $179,954.54
                               JR                         #32, 2/18/15

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                                                                                                              $21,905.60
                                                                                                                         Page  14 of 24
                                                                                                                           $88,813.36
                                                                                                         SUBTOTALS
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                                                                          FORM 2
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-10013-H7                                                                   Trustee Name:                            Yvette Gonzales
Case Name:                         MONETTE FORD, INC.                                                            Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***7675                                                                    Checking Acct #:                         ******0576
Co-Debtor Taxpayer ID #:                                                                                         Account Title:
For Period Beginning:              1/6/2015                                                                      Blanket bond (per case limit):           $1,000,000.00
For Period Ending:                 09/30/2020                                                                    Separate bond (if applicable):

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   Transaction       Check /              Paid to/                      Description of Transaction                Uniform         Deposit        Disbursement        Balance
      Date            Ref. #           Received From                                                             Tran Code          $                 $


03/18/2016           5019      Strategic Funding Source,      Turnover of proceeds per 5/7/15 order,             4210-000                          $13,611.54        $166,343.00
                               Inc.                           #65
03/31/2016                     Bank of Texas                  Account Analysis Fee                               2600-000                            $292.49         $166,050.51
04/05/2016                     Advantage Collection           per order entered 5/7/2015 doc 65                      *             $3,027.93                         $169,078.44
                               Professionals
                      {12}                                    Vehicle payments                    $4,037.21      1121-000                                            $169,078.44
                                                              Collection fees                     $(1,009.28)    3991-000                                            $169,078.44
04/13/2016            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $170,078.44
04/18/2016            (49)     Joseph Montoya                 Rental income for 2013 Rose Lane                   1222-000            $550.00                         $170,628.44
04/29/2016                     Bank of Texas                  Account Analysis Fee                               2600-000                            $263.48         $170,364.96
05/06/2016                     Advantage Collection           per order entered 5/7/2015 doc 65                      *             $5,183.40                         $175,548.36
                               Professionals
                      {12}                                    Vehicle payments                     $6,911.16     1121-000                                            $175,548.36
                                                              Collection Fees                     $(1,727.76)    3991-000                                            $175,548.36
05/31/2016                     Bank of Texas                  Account Analysis Fee                               2600-000                            $280.08         $175,268.28
06/06/2016            (12)     Advantage Collection           per order entered 5/7/2015 doc 65                  1121-000          $5,857.07                         $181,125.35
                               Professionals
06/10/2016            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $2,000.00                         $183,125.35
06/13/2016           5020      Strategic Funding Source,      turnover of collected funds per 5/7/15             4210-000                           $7,116.50        $176,008.85
                               Inc.                           order, #65
06/30/2016                     Bank of Texas                  Account Analysis Fee                               2600-000                            $278.01         $175,730.84
07/05/2016                     Advantage Collection           per order entered 5/7/2015 doc 65                      *             $2,085.55                         $177,816.39
                               Professionals
                      {12}                                    Vehicle payments                    $2,780.72      1121-000                                            $177,816.39
                                                              Collection fees                        $(695.17)   3991-000                                            $177,816.39
07/11/2016            (51)     Walmart                        Century Link refund                                1229-000               $20.70                       $177,837.09
07/14/2016           5021      George D. Giddens, Jr.         100% expenses per employment order                 3220-000                            $144.90         $177,692.19
                                                              2/18/15, Doc. No. 32
07/14/2016           5022      George D. Giddens, Jr.         75% expenses per employment order                  3210-000                           $2,468.39        $175,223.80
                                                              2/18/15, Doc. No. 32
07/27/2016           5023      Strategic Funding Source,      payment per 5/7/15 order, Doc. No. 65              4210-000                           $6,883.62        $168,340.18
                               Inc.
07/29/2016                     Bank of Texas                  Account Analysis Fee                               2600-000                            $283.76         $168,056.42
08/06/2016           5024      International Sureties, Ltd.   Bond Payment -016024923                            2300-000                             $71.28         $167,985.14
08/08/2016                     Advantage Collection           per order entered 5/7/2015 doc 65                      *             $4,849.62                         $172,834.76
                               Professionals
                      {12}                                    Vehicle payments                    $6,466.12      1121-000                                            $172,834.76
                                                              Collection Fees                     $(1,616.50)    3991-000                                            $172,834.76
08/31/2016                     Bank of Texas                  Account Analysis Fee                               2600-000                            $277.00         $172,557.76
09/06/2016                     Advantage Collection           per order entered 5/7/2015 doc 65                      *               $645.27                         $173,203.03
                               Professionals, LLC
                      {12}                                    Vehicle payments                         $860.36   1121-000                                            $173,203.03
                                                              Collection fees                        $(215.09)   3991-000                                            $173,203.03
             Case 15-10013-sh7                     Doc 251         Filed 11/02/20              Entered 11/02/20 18:56:21
                                                                                                                  $25,219.54
                                                                                                                             Page  15 of 24
                                                                                                                               $31,971.05
                                                                                                             SUBTOTALS
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                                                                       FORM 2
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          15-10013-H7                                                                 Trustee Name:                          Yvette Gonzales
Case Name:                        MONETTE FORD, INC.                                                          Bank Name:                             Bank of Texas
Primary Taxpayer ID #:            **-***7675                                                                  Checking Acct #:                       ******0576
Co-Debtor Taxpayer ID #:                                                                                      Account Title:
For Period Beginning:              1/6/2015                                                                   Blanket bond (per case limit):         $1,000,000.00
For Period Ending:                 09/30/2020                                                                 Separate bond (if applicable):

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   Transaction       Check /             Paid to/                    Description of Transaction                Uniform         Deposit      Disbursement        Balance
      Date            Ref. #          Received From                                                           Tran Code          $               $


09/26/2016            (16)     Debbie DeMoss               Memo Account DeMoss                                1129-000          $1,000.00                       $174,203.03
09/26/2016            (16)     Debbie DeMoss               Memo Account DeMoss                                1129-000          $1,000.00                       $175,203.03
09/30/2016                     Bank of Texas               Account Analysis Fee                               2600-000                          $269.81         $174,933.22
10/11/2016                     Advantage Collection        per order entered 5/7/2015 doc 65                      *             $2,067.60                       $177,000.82
                               Professionals, LLC
                      {12}                                 Vehicle Payments                    $2,756.78      1121-000                                          $177,000.82
                                                           Collection fees                        $(689.18)   3991-000                                          $177,000.82
10/24/2016            (16)     Debbie DeMoss               Memo Account DeMoss                                1129-000          $1,000.00                       $178,000.82
10/31/2016                     Bank of Texas               Account Analysis Fee                               2600-000                          $283.86         $177,716.96
11/07/2016                     Advantage Collection        per order entered 5/7/2015 doc 65                      *             $1,451.52                       $179,168.48
                               Professionals, LLC
                      {12}                                 Vehicle Payments                    $1,935.36      1121-000                                          $179,168.48
                                                           Collection fees                        $(483.84)   3991-000                                          $179,168.48
11/30/2016                     Bank of Texas               Account Analysis Fee                               2600-000                          $278.43         $178,890.05
12/05/2016                     Advantage Collection        per order entered 5/7/2015 doc 65                      *             $1,049.32                       $179,939.37
                               Professionals
                      {12}                                 Vehicle payments                    $1,399.08      1121-000                                          $179,939.37
                                                           Collection fees                        $(349.76)   3991-000                                          $179,939.37
12/09/2016            (34)     New York Life Insurance     Per Order No. 116, 1/8/16,                         1129-000         $22,568.16                       $202,507.53
                               Company
12/09/2016            (35)     New York Life Insurance     Per Order No. 116, 1/8/16,                         1129-000         $17,939.20                       $220,446.73
                               Company
12/09/2016            (36)     New York Life Insurance     Per Order No. 116, 1/8/16,                         1129-000         $35,963.96                       $256,410.69
                               Company
12/09/2016            (37)     New York Life Insurance     Per Order No. 116, 1/8/16,                         1129-000         $16,191.01                       $272,601.70
                               Company
12/09/2016            (38)     New York Lif Insurance      Per Order No. 116, 1/8/16,                         1129-000      $211,288.50                         $483,890.20
                               Company
12/15/2016           5025      Strategic Funding Source,   PER 5/7/15 Order, Doc. No. 65                      4210-000                         $8,721.56        $475,168.64
                               Inc.
12/21/2016           5026      GEORGE D GIDDENS,           75% of fees per Doc. No. 32, 2/18/15               3210-000                         $3,661.26        $471,507.38
                               JR
12/30/2016                     Bank of Texas               Account Analysis Fee                               2600-000                          $583.75         $470,923.63
01/09/2017                     Advantage Collection        per order entered 5/7/2015 doc 65                      *             $1,207.77                       $472,131.40
                               Professionals, LLC
                      {12}                                 Vehicle payments                    $1,694.36      1121-000                                          $472,131.40
                                                           Collection fees                        $(486.59)   3991-000                                          $472,131.40
01/20/2017            (16)     Debbie DeMoss               Memo Account DeMoss                                1129-000          $1,000.00                       $473,131.40
01/31/2017                     Bank of Texas               Account Analysis Fee                               2600-000                          $761.66         $472,369.74
01/31/2017           5027      Southwest Trucking and      Repossession fees per order #93, 8/14/15           3991-000                          $856.00         $471,513.74
                               Recovery



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                                                                                                             $313,727.04
                                                                                                                         Page  16 of 24
                                                                                                                           $15,416.33
                                                                                                         SUBTOTALS
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                                                                        FORM 2
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          15-10013-H7                                                                 Trustee Name:                          Yvette Gonzales
Case Name:                        MONETTE FORD, INC.                                                          Bank Name:                             Bank of Texas
Primary Taxpayer ID #:            **-***7675                                                                  Checking Acct #:                       ******0576
Co-Debtor Taxpayer ID #:                                                                                      Account Title:
For Period Beginning:              1/6/2015                                                                   Blanket bond (per case limit):         $1,000,000.00
For Period Ending:                 09/30/2020                                                                 Separate bond (if applicable):

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   Transaction       Check /             Paid to/                    Description of Transaction                Uniform         Deposit      Disbursement        Balance
      Date            Ref. #          Received From                                                           Tran Code          $               $


02/06/2017                     Advantage Collection        per order entered 5/7/2015 doc 65                      *             $2,272.44                       $473,786.18
                               Professionals
                      {12}                                 Vehicle Payments                     $3,029.91     1121-000                                          $473,786.18
                                                           Collection fees                        $(757.47)   3991-000                                          $473,786.18
02/17/2017            (16)     Debbie DeMoss               Memo Account DeMoss                                1129-000          $3,000.00                       $476,786.18
02/28/2017                     Bank of Texas               Account Analysis Fee                               2600-000                          $690.90         $476,095.28
03/06/2017                     Advantage Collections       per order entered 5/7/2015 doc 65                      *             $2,044.26                       $478,139.54
                      {12}                                 Vehicle Payments                     $2,725.67     1121-000                                          $478,139.54
                                                           Collection Fees                        $(681.41)   3991-000                                          $478,139.54
03/31/2017                     Bank of Texas               Account Analysis Fee                               2600-000                          $770.82         $477,368.72
04/05/2017            (16)     Debbie DeMoss               Memo Account DeMoss                                1129-000          $2,000.00                       $479,368.72
04/07/2017                     Advantage Collection        per order entered 5/7/2015 doc 65                      *               $869.25                       $480,237.97
                               Professionals
                      {12}                                 Vehicle payments                     $1,159.00     1121-000                                          $480,237.97
                                                           Collection fees                        $(289.75)   3991-000                                          $480,237.97
04/08/2017           5028      Giddens, Gatton &           Per order 3/9/17, Doc. No. 145 attorney            3220-000                          $262.39         $479,975.58
                               Jacobus, P.C.               expenses
04/08/2017           5029      Giddens, Gatton &           Per order 3/9/17, Doc. No. 145 attorney            3210-000                         $3,000.66        $476,974.92
                               Jacobus, P.C.               fees
04/08/2017           5030      Southwest Trucking and      Fees for repossessions per order 4/4/17,           3991-000                          $535.00         $476,439.92
                               Recovery                    Doc. No. 149
04/28/2017                     Bank of Texas               Account Analysis Fee                               2600-000                          $746.27         $475,693.65
05/10/2017                     Advantage Collection        per order entered 5/7/2015 doc 65                      *             $1,493.76                       $477,187.41
                               Professionals
                      {12}                                 Vehicle payments                     $1,997.67     1121-000                                          $477,187.41
                                                           Collection Fees                        $(503.91)   3991-000                                          $477,187.41
05/26/2017           5031      Alvaro Alvaro               Weed clean up - no order needed per NM             2420-000                          $900.00         $476,287.41
                                                           LBR 2015-1
05/31/2017                     Bank of Texas               Account Analysis Fee                               2600-000                          $769.13         $475,518.28
06/05/2017                     Advantage Collections       per order entered 5/7/2015 doc 65                      *               $138.00                       $475,656.28
                      {12}                                 Vehicle payments                       $184.00     1121-000                                          $475,656.28
                                                           Collection fees                         $(46.00)   3991-000                                          $475,656.28
06/13/2017            (16)     Debbie DeMoss               Memo Account DeMoss                                1129-000          $1,000.00                       $476,656.28
06/13/2017            (16)     Debbie DeMoss               Memo Account DeMoss                                1129-000          $1,000.00                       $477,656.28
06/30/2017                     Bank of Texas               Account Analysis Fee                               2600-000                          $744.41         $476,911.87
07/05/2017                     Advantage Collections       per order entered 5/7/2015 doc 65                      *               $381.75                       $477,293.62
                               Professionals
                      {12}                                 Vehicle payments                       $509.00     1121-000                                          $477,293.62
                                                           Collection fees                        $(127.25)   3991-000                                          $477,293.62
07/18/2017            (16)     Debbie DeMoss               Memo Account DeMoss                                1129-000          $1,000.00                       $478,293.62
07/18/2017           5032      Strategic Funding Source,   per order #65, 5/7/15, secured creditor for        4210-000                         $7,011.00        $471,282.62
                               Inc.                        car inventory
07/31/2017                     Bank of Texas               Account Analysis Fee                               2600-000                          $768.15         $470,514.47
             Case 15-10013-sh7                     Doc 251      Filed 11/02/20               Entered 11/02/20 18:56:21
                                                                                                                $15,199.46
                                                                                                                           Page  17 of 24
                                                                                                                             $16,198.73
                                                                                                         SUBTOTALS
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                                                                           FORM 2
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-10013-H7                                                                    Trustee Name:                            Yvette Gonzales
Case Name:                         MONETTE FORD, INC.                                                             Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***7675                                                                     Checking Acct #:                         ******0576
Co-Debtor Taxpayer ID #:                                                                                          Account Title:
For Period Beginning:              1/6/2015                                                                       Blanket bond (per case limit):           $1,000,000.00
For Period Ending:                 09/30/2020                                                                     Separate bond (if applicable):

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   Transaction       Check /              Paid to/                      Description of Transaction                 Uniform         Deposit      Disbursement          Balance
      Date            Ref. #           Received From                                                              Tran Code          $               $


08/08/2017                     Advantage Collection           per order entered 5/7/2015 doc 65                       *               $463.50                         $470,977.97
                               Professionals
                      {12}                                    Vehicle payments                         $618.00    1121-000                                            $470,977.97
                                                              Collection fees                        $(154.50)    3991-000                                            $470,977.97
08/08/2017           5033      International Sureties, Ltd.   #016024923                                          2300-000                            $167.50         $470,810.47
08/31/2017                     Bank of Texas                  Account Analysis Fee                                2600-000                            $759.71         $470,050.76
09/05/2017                     Advantage Collection           per order entered 5/7/2015 doc 65                       *               $231.75                         $470,282.51
                               Professionals, LLC
                      {12}                                    Vehicle payments                         $309.00    1121-000                                            $470,282.51
                                                              Collection fees                          $(77.25)   3991-000                                            $470,282.51
09/28/2017            (16)     Debbie DeMoss                  Memo Account DeMoss                                 1129-000          $1,000.00                         $471,282.51
09/28/2017            (16)     Debbie DeMoss                  Memo Account DeMoss                                 1129-000          $1,000.00                         $472,282.51
09/28/2017           5034      Giddens, Gatton &              Attorney fees per order # 156, 9/27/17              3210-000                          $10,972.75        $461,309.76
                               Jacobus, P.C.
09/28/2017           5035      Giddens, Gatton &              Attorney expenses per order # 156,                  3220-000                            $623.97         $460,685.79
                               Jacobus, P.C.                  9/27/17
09/29/2017                     Bank of Texas                  Account Analysis Fee                                2600-000                            $734.34         $459,951.45
10/09/2017                     Advantage Collection           per order entered 5/7/2015 doc 65                       *               $332.25                         $460,283.70
                               Professionals
                      {12}                                    Vehicle payments                         $443.00    1121-000                                            $460,283.70
                                                              Collection Fees                        $(110.75)    3991-000                                            $460,283.70
10/24/2017            (16)     Debbie DeMoss                  Memo Account DeMoss                                 1129-000          $1,000.00                         $461,283.70
10/31/2017                     Bank of Texas                  Account Analysis Fee                                2600-000                            $743.37         $460,540.33
11/09/2017                     Advantage Collection           per order entered 5/7/2015 doc 65                       *               $332.25                         $460,872.58
                               Professionals
                      {12}                                    Vehicle Payments                         $443.00    1121-000                                            $460,872.58
                                                              Collection Fees                        $(110.75)    3991-000                                            $460,872.58
11/09/2017            (16)     Debbie DeMoss                  Memo Account DeMoss                                 1129-000          $1,000.00                         $461,872.58
11/14/2017                     Integrity Bank                 Transfer Funds                                      9999-000                         $461,872.58                 $0.00




             Case 15-10013-sh7                      Doc 251        Filed 11/02/20              Entered 11/02/20 18:56:21
                                                                                                                   $5,359.75
                                                                                                                             Page   18 of 24
                                                                                                                               $475,874.22
                                                                                                             SUBTOTALS
                                                                                                                                                        Page No:12
                                                                     FORM 2
                                                CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         15-10013-H7                                                             Trustee Name:                            Yvette Gonzales
Case Name:                       MONETTE FORD, INC.                                                      Bank Name:                               Bank of Texas
Primary Taxpayer ID #:           **-***7675                                                              Checking Acct #:                         ******0576
Co-Debtor Taxpayer ID #:                                                                                 Account Title:
For Period Beginning:            1/6/2015                                                                Blanket bond (per case limit):           $1,000,000.00
For Period Ending:               09/30/2020                                                              Separate bond (if applicable):

      1                 2                   3                                  4                                            5                 6                   7

  Transaction        Check /            Paid to/                   Description of Transaction            Uniform          Deposit     Disbursement           Balance
     Date             Ref. #         Received From                                                      Tran Code           $              $


                                                              TOTALS:                                                  $734,351.82        $734,351.82                 $0.00
                                                                  Less: Bank transfers/CDs                                   $0.00        $461,872.58
                                                              Subtotal                                                 $734,351.82        $272,479.24
                                                                  Less: Payments to debtors                                  $0.00              $0.00
                                                              Net                                                      $734,351.82        $272,479.24


 For the period of 1/6/2015 to 09/30/2020                                          For the entire history of the account between 02/02/2015 to 09/30/2020

 Total Compensable Receipts:                         $806,277.38                   Total Compensable Receipts:                                $806,277.38
 Total Non-Compensable Receipts:                           $0.00                   Total Non-Compensable Receipts:                                  $0.00
 Total Comp/Non Comp Receipts:                       $806,277.38                   Total Comp/Non Comp Receipts:                              $806,277.38
 Total Internal/Transfer Receipts:                         $0.00                   Total Internal/Transfer Receipts:                                $0.00


 Total Compensable Disbursements:                    $344,404.80                   Total Compensable Disbursements:                           $344,404.80
 Total Non-Compensable Disbursements:                      $0.00                   Total Non-Compensable Disbursements:                             $0.00
 Total Comp/Non Comp Disbursements:                  $344,404.80                   Total Comp/Non Comp Disbursements:                         $344,404.80
 Total Internal/Transfer Disbursements:              $461,872.58                   Total Internal/Transfer Disbursements:                     $461,872.58




             Case 15-10013-sh7                  Doc 251     Filed 11/02/20               Entered 11/02/20 18:56:21 Page 19 of 24
                                                                                                                                                             Page No:13
                                                                          FORM 2
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-10013-H7                                                                  Trustee Name:                          Yvette Gonzales
Case Name:                         MONETTE FORD, INC.                                                           Bank Name:                             Independent Bank
Primary Taxpayer ID #:             **-***7675                                                                   Checking Acct #:                       ******0013
Co-Debtor Taxpayer ID #:                                                                                        Account Title:                         Checking Account
For Period Beginning:              1/6/2015                                                                     Blanket bond (per case limit):         $1,000,000.00
For Period Ending:                 09/30/2020                                                                   Separate bond (if applicable):

       1                2                       3                                   4                                              5               6                 7

   Transaction       Check /             Paid to/                      Description of Transaction                Uniform         Deposit      Disbursement        Balance
      Date            Ref. #          Received From                                                             Tran Code          $               $


11/14/2017                     Bank of Texas                 Transfer Funds                                     9999-000      $461,872.58                         $461,872.58
11/30/2017                     Integrity Bank                Bank Service Fee                                   2600-000                          $376.26         $461,496.32
12/07/2017                     Advantage Collection          per order entered 5/7/2015 doc 65                      *               $231.75                       $461,728.07
                               Professionasl
                      {12}                                   Vehicle Payments                       $309.00     1121-000                                          $461,728.07
                                                             Collection fees                         $(77.25)   3991-000                                          $461,728.07
12/21/2017            (16)     Debbie DeMoss                 Memo Account DeMoss                                1129-000          $1,000.00                       $462,728.07
12/31/2017                     Integrity Bank                Bank Service Fee                                   2600-000                          $686.12         $462,041.95
01/09/2018                     Advantage Collection          per order entered 5/7/2015 doc 65                      *               $100.50                       $462,142.45
                               Professionals, LLC
                      {12}                                   Vehicle Payments                       $134.00     1121-000                                          $462,142.45
                                                             Collection fees                         $(33.50)   3991-000                                          $462,142.45
01/11/2018            (16)     Debbie DeMoss                 Memo Account DeMoss                                1129-000          $1,000.00                       $463,142.45
01/11/2018           5001      Crawford MHI, LLC             Inspection for mobile home. No order               2420-000                          $420.00         $462,722.45
                                                             required per NM LBR 2015-1.
01/31/2018                     Integrity Bank                Bank Service Fee                                   2600-000                          $687.44         $462,035.01
02/06/2018                     Advantage Collection          per order entered 5/7/2015 doc 65                      *               $100.50                       $462,135.51
                               Professionals
                      {12}                                   Vehicle payments                       $134.00     1121-000                                          $462,135.51
                                                             Collection fees                         $(33.50)   3991-000                                          $462,135.51
02/20/2018                     Alliance Abstract and Title   Sale of 64 Midway Lemitar per order                    *            $35,348.50                       $497,484.01
                                                             entered 1/23/2018 doc 167
                      {7}                                    Sale of real property            $50,000.00        1110-000                                          $497,484.01
                                                             New septic system                   $(8,029.69)    2420-000                                          $497,484.01
                                                             Realtor commission                  $(3,723.13)    3510-000                                          $497,484.01
                                                             Improvement Location                   $(805.78)   3991-000                                          $497,484.01
                                                             Report
                                                             Closing Costs                          $(613.00)   2500-000                                          $497,484.01
                                                             Pre petition property tax              $(308.27)   4700-000                                          $497,484.01
                                                             Septic Inspection                      $(588.44)   2420-000                                          $497,484.01
                                                             Pre-petition Mobile Home                $(19.02)   4700-000                                          $497,484.01
                                                             tax
                                                             Post Petition property tax             $(359.98)   2820-000                                          $497,484.01
                                                             Post petition Mobile                   $(204.19)   2820-000                                          $497,484.01
                                                             Home tax
02/27/2018            (16)     Debbie DeMoss                 Memo Account DeMoss                                1129-000          $1,000.00                       $498,484.01
02/28/2018                     Integrity Bank                Bank Service Fee                                   2600-000                          $632.04         $497,851.97
03/06/2018                     Advantage Collection          per order entered 5/7/2015 doc 65                      *               $100.50                       $497,952.47
                               Professionals, LLC
                      {12}                                   Vehicle Payments                       $134.00     1121-000                                          $497,952.47
                                                             Collection fees                         $(33.50)   3991-000                                          $497,952.47
03/13/2018            (16)     Debbie DeMoss                 Memo Account DeMoss                                1129-000          $1,000.00                       $498,952.47
03/31/2018                     Integrity Bank                Bank Service Fee                                   2600-000                          $740.46         $498,212.01

             Case 15-10013-sh7                      Doc 251       Filed 11/02/20             Entered 11/02/20 18:56:21
                                                                                                               $501,754.33
                                                                                                                           Page  20 of 24
                                                                                                                              $3,542.32
                                                                                                           SUBTOTALS
                                                                                                                                                                Page No:14
                                                                          FORM 2
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-10013-H7                                                                   Trustee Name:                           Yvette Gonzales
Case Name:                         MONETTE FORD, INC.                                                            Bank Name:                              Independent Bank
Primary Taxpayer ID #:             **-***7675                                                                    Checking Acct #:                        ******0013
Co-Debtor Taxpayer ID #:                                                                                         Account Title:                          Checking Account
For Period Beginning:              1/6/2015                                                                      Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                 09/30/2020                                                                    Separate bond (if applicable):

       1                2                       3                                   4                                               5                6                  7

   Transaction       Check /              Paid to/                      Description of Transaction                Uniform         Deposit      Disbursement          Balance
      Date            Ref. #           Received From                                                             Tran Code          $               $


04/10/2018                     Advantage Collection           per order entered 5/7/2015 doc 65                      *               $831.00                         $499,043.01
                               Professionals
                      {12}                                    Vehicle Payments                    $1,108.00      1121-000                                            $499,043.01
                                                              Collection fees                        $(277.00)   3991-000                                            $499,043.01
04/24/2018            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $500,043.01
04/30/2018                     Integrity Bank                 Bank Service Fee                                   2600-000                           $717.23          $499,325.78
05/08/2018                     Advantage Collection           per order entered 5/7/2015 doc 65                      *               $131.25                         $499,457.03
                               Professionals
                      {12}                                    Vehicle payments                        $175.00    1121-000                                            $499,457.03
                                                              Collection fees                         $(43.75)   3991-000                                            $499,457.03
05/22/2018            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $500,457.03
05/31/2018                     Integrity Bank                 Bank Service Fee                                   2600-000                           $742.24          $499,714.79
06/12/2018                     Advantage Collection           per order entered 5/7/2015 doc 65                      *               $993.76                         $500,708.55
                               Professionals
                      {12}                                    Vehicle Payments                    $1,325.01      1121-000                                            $500,708.55
                                                              Collection Fees                        $(331.25)   3991-000                                            $500,708.55
06/14/2018           5002      Giddens & Gatton Law,          Attorney expenses per order #179,                  3220-000                           $299.94          $500,408.61
                               P.C.                           6/11/18
06/14/2018           5003      Giddens & Gatton Law,          Attorney fees per order #179, 6/11/18              3210-000                         $7,064.31          $493,344.30
                               P.C.
06/26/2018            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $494,344.30
06/30/2018                     Integrity Bank                 Bank Service Fee                                   2600-000                           $715.57          $493,628.73
07/31/2018            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $494,628.73
07/31/2018                     Integrity Bank                 Bank Service Fee                                   2600-000                           $733.30          $493,895.43
08/05/2018                     Independent Bank               Bank Service Fee                                   2600-000                           $118.33          $493,777.10
08/06/2018                     Independent Bank               Bank Service Fee                                   2600-000                          ($118.33)         $493,895.43
08/07/2018                     Advantage Collection           per order entered 5/7/2015 doc 65                      *               $131.25                         $494,026.68
                               Professionals
                      {12}                                    Vehicle Payments                        $175.00    1121-000                                            $494,026.68
                                                              Collection fees                         $(43.75)   3991-000                                            $494,026.68
08/09/2018            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $495,026.68
08/15/2018           5004      International Sureties, Ltd.   Bond #016024923                                    2300-000                           $192.80          $494,833.88
08/31/2018                     Independent Bank               Bank Service Fee                                   2600-000                         $8,659.59          $486,174.29
09/05/2018                     Independent Bank               Bank Service Fee                                   2600-000                         ($8,659.59)        $494,833.88
09/06/2018            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $495,833.88
09/06/2018                     Independent Bank               Bank Service Fee                                   2600-000                           $735.47          $495,098.41
10/09/2018            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $496,098.41
11/13/2018            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $497,098.41
12/11/2018            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $498,098.41
01/15/2019            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $499,098.41
02/12/2019            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $500,098.41
03/12/2019            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                         $501,098.41
             Case 15-10013-sh7                      Doc 251        Filed 11/02/20             Entered 11/02/20 18:56:21
                                                                                                                 $14,087.26
                                                                                                                            Page  21 of 24
                                                                                                                              $11,200.86
                                                                                                            SUBTOTALS
                                                                                                                                                               Page No:15
                                                                           FORM 2
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-10013-H7                                                                   Trustee Name:                           Yvette Gonzales
Case Name:                         MONETTE FORD, INC.                                                            Bank Name:                              Independent Bank
Primary Taxpayer ID #:             **-***7675                                                                    Checking Acct #:                        ******0013
Co-Debtor Taxpayer ID #:                                                                                         Account Title:                          Checking Account
For Period Beginning:              1/6/2015                                                                      Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                 09/30/2020                                                                    Separate bond (if applicable):

       1                2                     3                                      4                                              5                6                 7

   Transaction       Check /              Paid to/                      Description of Transaction                Uniform         Deposit       Disbursement        Balance
      Date            Ref. #           Received From                                                             Tran Code          $                $


04/11/2019            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                        $502,098.41
05/14/2019            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                        $503,098.41
06/11/2019            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                        $504,098.41
07/16/2019            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                        $505,098.41
07/16/2019           5005      Giddens & Gatton Law,          Atty fees to date per 5/21/19 order, #208          3210-000                         $19,292.72        $485,805.69
                               P.C.
07/16/2019           5006      Giddens & Gatton Law,          Atty expenses to date per 5/21/19 order,           3220-000                          $1,222.40        $484,583.29
                               P.C.                           #208
08/13/2019            (16)     Debbie DeMoss                  Memo Account DeMoss                                1129-000          $1,000.00                        $485,583.29
08/13/2019           5007      International Sureties, Ltd.   Bond #016024923                                    2300-000                           $250.04         $485,333.25
10/08/2019            (16)     Alliance Abstract & Title      Order on Settlement on 69 Midway                   1129-000         $45,000.00                        $530,333.25
                                                              entered 10/1/19 doc 228
10/15/2019            (16)     Debbie DeMoss                  Memo Account DeMoss                                1280-002          $1,000.00                        $531,333.25
11/19/2019            (1)      Charles F. Dickerson, Inc      Auction proceeds per Order entered                 1110-000          $5,000.00                        $536,333.25
                                                              7/1/2019 doc 220
11/19/2019            (1)      A-1 Quality Redi-mix, Inc      Auction proceeds per Order entered                 1110-000          $5,000.00                        $541,333.25
                                                              7/1/2019 doc 220
12/10/2019           5008      Debbie DeMoss                  Refund of overpayment per order #235,              1280-002         ($1,000.00)                       $540,333.25
                                                              11/22/2019
02/06/2020                     Alliance Abstract and Title    Per order on auction filed 7/1/19 doc 220              *             $9,569.62                        $549,902.87
                      {1}                                     Lots in Socorro                    $20,000.00      1110-000                                           $549,902.87
                                                              Auctioneer commission              $(3,195.25)     3610-000                                           $549,902.87
                                                              per order to employ
                                                              auctioneer filed 7/1/19 doc
                                                              220
                                                              Closing costs                          $(110.00)   2500-000                                           $549,902.87
                                                              Post petition property tax              $(47.20)   2820-000                                           $549,902.87
                                                              Post petition property tax         $(4,668.97)     4700-000                                           $549,902.87
                                                              Auctioneer expenses                $(2,408.96)     3620-000                                           $549,902.87
08/12/2020           5009      International Sureties, Ltd.   Bond for 8/2020 through 7/2021,                    2300-000                           $384.13         $549,518.74
                                                              #016024923
08/31/2020                     Independent Bank               Account Analysis Charge                            2600-000                           $801.82         $548,716.92
09/30/2020                     Independent Bank               Account Analysis Charge                            2600-000                           $800.19         $547,916.73




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                                                                                                                   $69,569.62
                                                                                                                              Page  22 of 24
                                                                                                                                $22,751.30
                                                                                                            SUBTOTALS
                                                                                                                                                       Page No:16
                                                                     FORM 2
                                                CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         15-10013-H7                                                             Trustee Name:                           Yvette Gonzales
Case Name:                       MONETTE FORD, INC.                                                      Bank Name:                              Independent Bank
Primary Taxpayer ID #:           **-***7675                                                              Checking Acct #:                        ******0013
Co-Debtor Taxpayer ID #:                                                                                 Account Title:                          Checking Account
For Period Beginning:            1/6/2015                                                                Blanket bond (per case limit):          $1,000,000.00
For Period Ending:               09/30/2020                                                              Separate bond (if applicable):

      1                 2                   3                                  4                                            5                6                  7

  Transaction        Check /            Paid to/                   Description of Transaction            Uniform          Deposit     Disbursement            Balance
     Date             Ref. #         Received From                                                      Tran Code           $              $


                                                              TOTALS:                                                  $585,411.21        $37,494.48          $547,916.73
                                                                  Less: Bank transfers/CDs                             $461,872.58             $0.00
                                                              Subtotal                                                 $123,538.63        $37,494.48
                                                                  Less: Payments to debtors                                  $0.00             $0.00
                                                              Net                                                      $123,538.63        $37,494.48


 For the period of 1/6/2015 to 09/30/2020                                          For the entire history of the account between 11/14/2017 to 09/30/2020

 Total Compensable Receipts:                         $149,494.01                   Total Compensable Receipts:                               $149,494.01
 Total Non-Compensable Receipts:                           $0.00                   Total Non-Compensable Receipts:                                 $0.00
 Total Comp/Non Comp Receipts:                       $149,494.01                   Total Comp/Non Comp Receipts:                             $149,494.01
 Total Internal/Transfer Receipts:                   $461,872.58                   Total Internal/Transfer Receipts:                         $461,872.58


 Total Compensable Disbursements:                     $63,449.86                   Total Compensable Disbursements:                              $63,449.86
 Total Non-Compensable Disbursements:                      $0.00                   Total Non-Compensable Disbursements:                               $0.00
 Total Comp/Non Comp Disbursements:                   $63,449.86                   Total Comp/Non Comp Disbursements:                            $63,449.86
 Total Internal/Transfer Disbursements:                    $0.00                   Total Internal/Transfer Disbursements:                             $0.00




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                                                                                                                                                     Page No:17
                                                                     FORM 2
                                                CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         15-10013-H7                                                             Trustee Name:                          Yvette Gonzales
Case Name:                       MONETTE FORD, INC.                                                      Bank Name:                             Independent Bank
Primary Taxpayer ID #:           **-***7675                                                              Checking Acct #:                       ******0013
Co-Debtor Taxpayer ID #:                                                                                 Account Title:                         Checking Account
For Period Beginning:            1/6/2015                                                                Blanket bond (per case limit):         $1,000,000.00
For Period Ending:               09/30/2020                                                              Separate bond (if applicable):

      1                 2                   3                                  4                                            5               6                7

  Transaction        Check /            Paid to/                   Description of Transaction            Uniform          Deposit     Disbursement        Balance
     Date             Ref. #         Received From                                                      Tran Code           $              $




                                                                                                                                               NET         ACCOUNT
                                                                        TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE        BALANCES

                                                                                                                       $857,890.45   $309,973.72           $547,916.73




 For the period of 1/6/2015 to 09/30/2020                                          For the entire history of the case between 01/06/2015 to 09/30/2020

 Total Compensable Receipts:                         $955,771.39                   Total Compensable Receipts:                              $955,771.39
 Total Non-Compensable Receipts:                           $0.00                   Total Non-Compensable Receipts:                                $0.00
 Total Comp/Non Comp Receipts:                       $955,771.39                   Total Comp/Non Comp Receipts:                            $955,771.39
 Total Internal/Transfer Receipts:                   $461,872.58                   Total Internal/Transfer Receipts:                        $461,872.58


 Total Compensable Disbursements:                    $407,854.66                   Total Compensable Disbursements:                         $407,854.66
 Total Non-Compensable Disbursements:                      $0.00                   Total Non-Compensable Disbursements:                           $0.00
 Total Comp/Non Comp Disbursements:                  $407,854.66                   Total Comp/Non Comp Disbursements:                       $407,854.66
 Total Internal/Transfer Disbursements:              $461,872.58                   Total Internal/Transfer Disbursements:                   $461,872.58




                                                                                                    /s/ YVETTE GONZALES
                                                                                                    YVETTE GONZALES




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